Case 1:15-cr-00637-KAM Document 204

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
-against-
MARTIN SHKRELI,

EVAN GREEBEL,

Defendants.

Filed 04/21/17 Page 1 of 6 PagelD #: 2953

 

Ind. No. 15 CR 637(S-1) (KAM)

DEFENDANT MARTIN SHKRELI’S PROPOSED JURY QUESTIONNAIRE

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Pursuant to Rule 24 of the Federal Rules of Criminal Procedure and this Court’s
Amended Scheduling Order (Dkt. No. 147) defendant Martin Shkreli respectfully requests that
the Court include the following questions when examining prospective jurors in this case:

 
 
 
 
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Dated:

To:

New York, New York
April 21, 2017

The Court (via hand delivery)
All Counsel (via ECF)

Respectfully submitted,

VACA

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